























In The
Court of Appeals
Sixth Appellate District of Texas at Texarkana

______________________________

No. 06-04-00119-CV
______________________________


RUSSELL M. DAVIS, Appellant
&nbsp;
V.
&nbsp;
AHIA SHABAAZ &amp; P. BARRON, R.N., Appellees


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

On Appeal from the 202nd Judicial District Court
Bowie County, Texas
Trial Court No. 03C1868-202


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;



Before Morriss, C.J., Ross and Carter, JJ.
Memorandum Opinion by Justice Carter


MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Russell M. Davis, an inmate at the Telford Unit within the Texas Department of Criminal
Justice—Institutional Division (TDCJ-ID), suffered a broken ankle August 4, 2003.  On November
24, 2003, Davis filed suit against Ahia Shabaaz (the Director of Clinical Services for the TDCJ) and
P. Barron, R.N. (the nurse who allegedly treated Davis following his injury) for alleged medical
malpractice in the treatment of his injuries.


 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On June 16, 2004, the defendants filed a motion to dismiss Davis' lawsuit, contending
dismissal was required because Davis had failed to file a medical expert report within 120 days of
filing his lawsuit.  See Tex. Civ. Prac. &amp; Rem. Code Ann. § 74.351(a) (Vernon Supp. 2004–2005)
(claimant in healthcare liability case must file expert report within 120 days after commencement
of suit).  Two days later, the trial court granted the defendants' motion.  However, on July 14, 2004,
the trial court signed a document that appears to be a form scheduling order.  The scheduling order
set forth specific dates for trial, pretrial, and final conference.  The order also set final deadlines for
the adding of parties, amendment of pleadings, designating expert and fact witnesses, filing summary
judgment motions, and the completion of discovery and mediation.  The court's order did not
reference, nor did it explicitly withdraw, the prior order of dismissal.  Davis filed his notice of appeal
with the trial court August 25, 2004. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On appeal, Davis contends the trial court's July 14 scheduling order acted to withdraw the
court's previous order of dismissal.  We disagree.  The scheduling order did not discuss, reference,
or otherwise directly (or impliedly) withdraw the trial court's prior order of dismissal.  While it is
true that a trial court generally retains plenary jurisdiction to reconsider any dispositive motion for
thirty days from the date of judgment, see Tex. R. Civ. P. 329b(d), nothing in the record before us
indicates the trial court intended to "vacate, modify, correct, or reform" its prior judgment of
dismissal merely by signing a scheduling order for the case.  Furthermore, we believe that, for an
order of dismissal to be withdrawn, corrected, or modified, the trial court must have taken some
affirmative step that clearly indicates the court's intent to effect a change of its prior disposition. 
Such changes are commonly effected by entering either a new judgment, a new order that formally
withdraws the prior order of dismissal, or granting a new trial.  A scheduling order as envisioned by
the Texas Rules of Civil Procedure is used in connection with a pretrial conference and to establish
discovery control plans.  See Tex. R. Civ. P. 166(c), 190.4. Since this scheduling order contains no
language setting aside, modifying, or even acknowledging the order of dismissal, we conclude that
it was unnecessarily issued as a routine order to control pretrial matters and had no legal effect as
to the dismissal order.   Accordingly, we overrule Davis' sole point of error.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Moreover, the trial court properly dismissed Davis' lawsuit pursuant to Section 74.351 of the
Texas Civil Practice and Remedies Code.  That law provides:
If, as to a defendant physician or health care provider, an expert report has not been
served within the period specified by Subsection (a), the court, on the motion of the
affected physician or health care provider, shall, subject to Subsection (c), enter an
order that:
(1) awards to the affected physician or health care provider reasonable
attorney's fees and costs of court incurred by the physician or health care provider;
and
(2) dismisses the claim with respect to the physician or health care provider,
with prejudice to the refiling of the claim.
Tex. Civ. Prac. &amp; Rem. Code Ann. § 74.351(b) (Vernon Supp. 2004–2005) (emphasis added). 
Davis' suit is for damages resulting from alleged medical malpractice.  Davis did not file a medical
expert report within 120 days from the date on which he filed his plaintiff's original petition, nor did
he seek an extension of time to file the report.  See Tex. Civ. Prac. &amp; Rem. Code Ann. § 74.351(c)
(Vernon Supp. 2004–2005).  Because Davis did not file the required expert report, the trial court
correctly dismissed Davis' lawsuit.  See Jones v. Ark-La-Tex, 141 S.W.3d 790, 793 (Tex.
App.—Texarkana 2004, no pet.) (trial court does not err by dismissing suit with prejudice when
plaintiff fails to file required expert report).  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;For the reasons stated, we affirm the trial court's judgment.



&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Jack Carter
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice

Date Submitted:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;March 31, 2005
Date Decided:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;April 6, 2005


